Case 3:17-cv-00072-NKM-JCH Document 278 Filed 03/16/18 Page 1 of 3 Pageid#: 1946


Description Appearance Sheet For The United States District Court Western District of Virginia
              Charlottesville Division; Elizabeth Sines, et al v. Jason Kessler, et al; Case No.
              3:17CV72; Date: 3/16/18; Type of Hearing; CC, Motions, Scheduling; Parties; 1. Joel
              C. Hoppe; 2. Ben Rottenborn; 3. Roberta Kaplan; 4. Elmer Woodard; 5. James
              Kolenich; 6. Richard Spencer; 7. David Campbell; 8. Bryan Jones; 9. Michael
              Penovich; Recorded by; Heidi Wheeler; Time in Court: 1 hr 7 min

Date          3/16/2018 Location [CVILLE-3-FTR]
Case 3:17-cv-00072-NKM-JCH Document 278 Filed 03/16/18 Page 2 of 3 Pageid#: 1947
Appearance Sheet For The United States District Court Western District of Virginia [CVILLE-3-FTR]
                                                                                    Charlottesville

   Time         Speaker                                        Note
2:03:01 PM    1
2:05:04 PM    2,3
2:05:06 PM    1
2:05:08 PM    2
2:05:17 PM    4
2:05:36 PM    1,4,5
2:05:42 PM    1,6
2:06:02 PM    1,7
2:06:05 PM    1,8
2:06:23 PM    1,9
2:07:31 PM    1
2:09:22 PM    3             Wait until May to set trial date
2:10:16 PM    1,4,5
2:10:55 PM    1,3
2:11:32 PM    1,3
2:11:57 PM    1,6
2:12:27 PM    1,3
2:15:26 PM    1,4,7, 8, 9
2:16:20 PM    1,3
2:17:05 PM    1,9
2:17:13 PM    1,6
2:18:14 PM    1,3
2:19:47 PM    1,5
2:20:19 PM    1,3
2:21:01 PM    1,4
2:21:18 PM    1,3
2:21:30 PM    1,7
2:22:06 PM    1,3
2:22:16 PM    4,3
2:22:53 PM    1
2:23:36 PM    3
2:23:43 PM    1,4
2:24:44 PM    1,9
2:25:19 PM    1,4
2:26:12 PM    1,7
2:27:03 PM    1,7
2:28:42 PM    1,4
2:31:07 PM    1,3
2:32:40 PM    1,7
2:33:34 PM    1,3
2:35:28 PM    1,9
2:36:01 PM    1,6


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Appearance Sheet For The United States District Court Western District of Virginia [CVILLE-3-FTR]
                                                                                    Charlottesville

2:37:19 PM    1,3
2:37:22 PM    1,9,6
2:37:58 PM    1,3
2:39:34 PM    1,5
2:41:14 PM    1,3
2:41:59 PM    1,7,8,9,6
2:44:31 PM    1,3
2:45:12 PM    1,9
2:46:03 PM    1,9
2:47:53 PM    1,3
2:49:20 PM    1,4
2:49:51 PM    1,7
2:50:24 PM    1,8
2:51:34 PM    1,9,6
2:51:38 PM    1,5
2:51:47 PM    1,3
2:52:26 PM    1,4
2:53:51 PM    1,3
2:55:22 PM    1,4
2:56:22 PM    1,3,6,7,4,5,9

3:00:14 PM    1,9,7
3:02:01 PM    4,1
3:03:22 PM    1,3,7
3:04:28 PM    1,3,7
3:06:47 PM    1,4
3:08:37 PM    1,4
3:09:14 PM    1,5
3:09:44 PM    1,7,8,6,9
3:10:00 PM    1
3:10:51 PM    END




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